         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL NO. 3:05CR277-7


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                      ORDER
                         )
                         )
TOM KEATING              )
                         )


     THIS MATTER is before the Court sua sponte to continue the

sentencing hearing from the October 30, 2006, calendar.

     IT IS, THEREFORE, ORDERED that this case is continued from the

October 30, 2006, calendar.

     IT IS FURTHER ORDERED that the sentencing hearing is

rescheduled for WEDNESDAY, NOVEMBER 29, 2006, AT 10:00 AM, at

the U.S. Courthouse in Statesville, North Carolina.

                                     Signed: October 23, 2006




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